                    Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 1 of 29 Page ID #:919



                              1   DAVID GROSSMAN (SBN 211326)
                                  dgrossman@loeb.com
                              2   LOEB & LOEB LLP
                                  10100 Santa Monica Blvd., Suite 2200
                              3   Los Angeles, CA 90067
                                  Telephone: 310.282.2000
                              4   Facsimile: 310.282.2200
                              5   Attorneys for Defendants
                                  AARON SIMS, MATT DUFFER, ROSS
                              6   DUFFER, NETFLIX, INC., NETFLIX
                                  STREAMING SERVICES, INC., and
                              7   21 LAPS INC.
                              8
                              9                            UNITED STATES DISTRICT COURT
                           10                             CENTRAL DISTRICT OF CALIFORNIA
                           11
                           12     IRISH ROVER ENTERTAINMENT,              Case No.: 2:20-cv-06293-CBM-PLA
                                  LLC, a California limited liability
                           13     company,                                Assigned to Hon. Consuelo B.
                                                                          Marshall
                           14                    Plaintiffs,
                           15              v.                             DEFENDANTS’ ANSWER TO
                                                                          FIRST AMENDED COMPLAINT
                           16     AARON SIMS, an individual; MATT
                                  DUFFER, an individual; ROSS
                           17     DUFFER, an individual; NETFLIX,         DEMAND FOR JURY TRIAL
                                  INC., a Delaware corporation;
                           18     NETFLIX STREAMING SERVICES,
                                  INC., a Delaware corporation; 21
                           19     LAPS, INC., a California corporation;   First Amended Complaint Filed:
                                  and DOES 1 through 50, inclusive,       October 12, 2020
                           20
                                                 Defendants.
                           21
                           22
                           23
                           24
                           25
                           26
                           27
                           28

      Loeb & Loeb
                                                                                     DEFENDANTS’ ANSWER TO FIRST
                                  20298344
A Limited Liability Partnership                                                             AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                    Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 2 of 29 Page ID #:920



                              1            Defendants Aaron Sims (“Sims”), Matt Duffer and Ross Duffer (collectively,
                              2   the “Duffers”), Netflix, Inc. and Netflix Streaming Services, Inc. (collectively,
                              3   “Netflix”), and 21 Laps, Inc. (“21 Laps”) (collectively, “Defendants”) answer the
                              4   First Amended Complaint filed by plaintiff Irish Rover Entertainment, LLC
                              5   (“Plaintiff”) in this action as follows:
                              6                                NATURE OF THE ACTION
                              7            2.    No response is required to paragraph 2, which merely states the claims
                              8   Plaintiff purports to assert in this action.
                              9            3.    Defendants deny the allegations of paragraph 3.
                           10              4.    Defendants lack knowledge or information sufficient to form a belief as
                           11     to the truth of the allegations contained in Paragraph 4 and, on that basis, deny said
                           12     allegations, except Sims admits that he received certain drafts of the allegedly
                           13     infringed screenplay.
                           14              5.    Defendants lack knowledge or information sufficient to form a belief as
                           15     to the truth of the allegations contained in Paragraph 5 and, on that basis, deny said
                           16     allegations, except Sims admits that he discussed certain concept art for Totem with
                           17     Jeffrey Kennedy (“Kennedy”).
                           18              6.    Defendants deny the allegations of paragraph 6, except admit that Sims
                           19     was hired to work on Stranger Things artwork and visual effects.
                           20              7.    Defendants deny the allegations of paragraph 7, except the Duffers
                           21     admit that they independently began developing their ideas for Stranger Things as
                           22     early as November of 2010, and continued to do so for several years thereafter.
                           23              8.    Defendants deny the allegations of paragraph 8, except admit that Sims
                           24     was hired to work on Stranger Things artwork and visual effects.
                           25              9.    Defendants deny the allegations of paragraph 9.
                           26              10.   Defendants deny the allegations of paragraph 10.
                           27              11.   Defendants deny the allegations of paragraph 11.
                           28

                                                                                            DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                   1                     AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                    Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 3 of 29 Page ID #:921



                              1            12.   Defendants deny the allegations of paragraph 12, except admit that
                              2   Plaintiff has filed the present litigation.
                              3                                        THE PARTIES
                              4            13.   Defendants lack knowledge or information sufficient to form a belief as
                              5   to the truth of the allegations in paragraph 13, and on that basis deny said
                              6   allegations.
                              7            14.   Sims admits the allegations of paragraph 14. Matt Duffer, Ross Duffer,
                              8   Netflix, and 21 Laps lack knowledge or information sufficient to form a belief as to
                              9   the truth of the allegations contained in Paragraph 14, and on that basis deny said
                           10     allegations.
                           11              15.   Matt Duffer admits the allegations of paragraph 15. Sims, Ross Duffer,
                           12     Netflix, and 21 Laps lack knowledge or information sufficient to form a belief as to
                           13     the truth of the allegations contained in Paragraph 15, and on that basis deny said
                           14     allegations.
                           15              16.   Ross Duffer admits the allegations of paragraph 16. Sims, Matt Duffer,
                           16     Netflix, and 21 Laps lack knowledge or information sufficient to form a belief as to
                           17     the truth of the allegations contained in Paragraph 16, and on that basis deny said
                           18     allegations.
                           19              17.   No response is required to paragraph 17, as it purports to define terms
                           20     in Plaintiff’s First Amended Complaint.
                           21              18.   Netflix admits the allegations of paragraph 18. Sims, Matt Duffer,
                           22     Ross Duffer, and 21 Laps lack knowledge or information sufficient to form a belief
                           23     as to the truth of the allegations contained in Paragraph 18, and on that basis deny
                           24     said allegations.
                           25              19.   Netflix admits the allegations of paragraph 19. Sims, Matt Duffer,
                           26     Ross Duffer, and 21 Laps lack knowledge or information sufficient to form a belief
                           27     as to the truth of the allegations contained in Paragraph 19, and on that basis deny
                           28     said allegations.

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                      2                   AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                    Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 4 of 29 Page ID #:922



                              1            20.   No response is required to paragraph 20, as it purports to define terms
                              2   in Plaintiff’s First Amended Complaint.
                              3            21.   21 Laps admits the allegations of paragraph 21. Sims, Matt Duffer,
                              4   Ross Duffer, and Netflix lack knowledge or information sufficient to form a belief
                              5   as to the truth of the allegations contained in Paragraph 21, and on that basis deny
                              6   said allegations.
                              7            22.   Defendants lack knowledge or information sufficient to form a belief as
                              8   to the truth of the allegations in paragraph 22, and on that basis deny said
                              9   allegations.
                           10              23.   Defendants deny the allegations of paragraph 23.
                           11              24.   Defendants deny the allegations of paragraph 24.
                           12                                 JURISDICTION AND VENUE
                           13              25.   No response is required to paragraph 25, which merely states the claims
                           14     Plaintiff purports to assert in this action.
                           15              26.   Paragraph 26 contains legal conclusions, to which no response is
                           16     required. To the extent a response is required, Defendants state that they do not
                           17     challenge the Court’s subject matter jurisdiction in this action.
                           18              27.   Paragraph 27 contains legal conclusions, to which no response is
                           19     required. To the extent a response is required, Defendants do not challenge personal
                           20     jurisdiction over them in this action. Defendants lack knowledge or information
                           21     sufficient to form a belief as to the principal places of business and activities of the
                           22     other Defendants in this action, and on that basis deny the allegations contained in
                           23     Paragraph 3 as they pertain to those other Defendants..
                           24              28.   Paragraph 28 contains legal conclusions, to which no response is
                           25     required. To the extent a response is required, Defendants do not challenge venue in
                           26     this action.
                           27
                           28

                                                                                              DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                   3                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                    Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 5 of 29 Page ID #:923



                              1                                         STANDING
                              2            29.   Paragraph 29 contains legal conclusions, to which no response is
                              3   required, but to the extent a response is required, Defendants lack knowledge or
                              4   information sufficient to form a belief as to the truth of the allegations in paragraph
                              5   29, and on that basis deny said allegations.
                              6                                GENERAL ALLEGATIONS
                              7            30.   Defendants deny that Plaintiff’s purported certificates of copyright
                              8   registration with the United States Copyright Office attached as Exhibits 1-5 to the
                              9   First Amended Complaint include deposit copies or evidence of the allegedly
                           10     registered works, and otherwise lack knowledge or information sufficient to form a
                           11     belief as to the truth of the allegations in paragraph 30, and on that basis deny said
                           12     allegations.
                           13              31.   Defendants lack knowledge or information sufficient to form a belief as
                           14     to the truth of the allegations in paragraph 31, and on that basis deny said
                           15     allegations.
                           16              32.   Defendants lack knowledge or information sufficient to form a belief as
                           17     to the truth of the allegations in paragraph 32, and on that basis deny said
                           18     allegations.
                           19              33.   Defendants deny that Plaintiff’s purported certificate of copyright
                           20     registration with the United States Copyright Office attached as Exhibit 5 to the
                           21     First Amended Complaint includes a deposit copy or evidence of the allegedly
                           22     registered work, and otherwise lack knowledge or information sufficient to form a
                           23     belief as to the truth of the allegations contained in Paragraph 33, and on that basis
                           24     deny said allegations.
                           25              34.   No response is required to paragraph 34, as it purports to define terms
                           26     in Plaintiff’s First Amended Complaint.
                           27
                           28

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                  4                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                    Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 6 of 29 Page ID #:924



                              1            35.   Defendants lack knowledge or information sufficient to form a belief as
                              2   to the truth of the allegations in paragraph 35, and on that basis deny said
                              3   allegations.
                              4            36.   Defendants lack knowledge or information sufficient to form a belief as
                              5   to the truth of the allegations in paragraph 36, and on that basis deny said
                              6   allegations.
                              7            37.   Defendants lack knowledge or information sufficient to form a belief as
                              8   to the truth of the allegations in paragraph 37, and on that basis deny said
                              9   allegations.
                           10              38.   Defendants lack knowledge or information sufficient to form a belief as
                           11     to the truth of the allegations in paragraph 38, and on that basis deny said
                           12     allegations.
                           13              39.   Defendants lack knowledge or information sufficient to form a belief as
                           14     to the truth of the allegations in paragraph 39, and on that basis deny said
                           15     allegations.
                           16              40.   Defendants lack knowledge or information sufficient to form a belief as
                           17     to the truth of the allegations in paragraph 40, and on that basis deny said
                           18     allegations.
                           19              41.   Defendants lack knowledge or information sufficient to form a belief as
                           20     to the truth of the allegations in paragraph 41, and on that basis deny said
                           21     allegations.
                           22              42.   Defendants lack knowledge or information sufficient to form a belief as
                           23     to the truth of the allegations in paragraph 42, and on that basis deny said
                           24     allegations.
                           25              43.   Defendants lack knowledge or information sufficient to form a belief as
                           26     to the truth of the allegations in paragraph 43, and on that basis deny said
                           27     allegations.
                           28

                                                                                            DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                 5                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                    Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 7 of 29 Page ID #:925



                              1            44.   Defendants lack knowledge or information sufficient to form a belief as
                              2   to the truth of the allegations in paragraph 44, and on that basis deny said
                              3   allegations, except Sims admits that he created certain artwork for Totem.
                              4            45.   Defendants lack knowledge or information sufficient to form a belief as
                              5   to the truth of the allegations in paragraph 45, and on that basis deny said
                              6   allegations, except Sims admits that he received certain drafts of the allegedly
                              7   infringed screenplay and created certain artwork for Totem.
                              8            46.   Defendants lack knowledge or information sufficient to form a belief as
                              9   to the truth of the allegations in paragraph 46, and on that basis deny said
                           10     allegations, except Sims admits that he received certain images relating to Totem
                           11     and created certain artwork for Totem.
                           12              47.   Defendants lack knowledge or information sufficient to form a belief as
                           13     to the truth of the allegations in paragraph 47, and on that basis deny said
                           14     allegations, except Sims admits that he met with Kennedy to discuss certain artwork
                           15     for Totem.
                           16              48.   Defendants lack knowledge or information sufficient to form a belief as
                           17     to the truth of the allegations in paragraph 48, and on that basis deny said
                           18     allegations, except Sims admits that he received certain drafts of the allegedly
                           19     infringed screenplay and created certain artwork for Totem.
                           20              49.   Defendants lack knowledge or information sufficient to form a belief as
                           21     to the truth of the allegations in paragraph 49, and on that basis deny said
                           22     allegations, except Sims admits that he received certain drafts of the allegedly
                           23     infringed screenplay and created certain artwork for Totem.
                           24              50.   Defendants lack knowledge or information sufficient to form a belief as
                           25     to the truth of the allegations in paragraph 50, and on that basis deny said
                           26     allegations, except Sims admits that he discussed certain concept art for Totem with
                           27     Kennedy, and was offered to direct Totem.
                           28

                                                                                            DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                 6                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                    Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 8 of 29 Page ID #:926



                              1            51.   Defendants lack knowledge or information sufficient to form a belief as
                              2   to the truth of the allegations in paragraph 51, and on that basis deny said
                              3   allegations, except Sims admits that met with Kennedy to discuss certain concept art
                              4   for Totem.
                              5            52.   Defendants lack knowledge or information sufficient to form a belief as
                              6   to the truth of the allegations in paragraph 52, and on that basis deny said
                              7   allegations, except Sims admits that he received certain drafts of the allegedly
                              8   infringed screenplay.
                              9            53.   Defendants lack knowledge or information sufficient to form a belief as
                           10     to the truth of the allegations in paragraph 53, and on that basis deny said
                           11     allegations, except the Duffers admit that they wrote and directed the film titled
                           12     Hidden, and Sims admits that he was hired to work on Hidden.
                           13              54.   Defendants deny the allegations of paragraph 54.
                           14              55.   Defendants deny the allegations of paragraph 55.
                           15              56.   Defendants deny the allegations of paragraph 56.
                           16              57.   Defendants deny the allegations of paragraph 57.
                           17              58.   Defendants admit the allegations of paragraph 58.
                           18              59.   Defendants lack knowledge or information sufficient to form a belief as
                           19     to the truth of the allegations in paragraph 59, and on that basis deny said
                           20     allegations, except the Duffers admit that they received writer and producer credits
                           21     on certain episodes of the television series titled Wayward Pines, and Sims admits
                           22     that he was hired to work on one episode of Wayward Pines.
                           23              60.   Defendants deny the allegations of paragraph 60, except admit that
                           24     Netflix purchased the first season of Stranger Things in 2015.
                           25              61.   Defendants deny the allegations of paragraph 61, except admit that
                           26     Stranger Things was released on Netflix and that Sims was hired to work on
                           27     Stranger Things artwork and visual effects.
                           28

                                                                                            DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                 7                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                    Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 9 of 29 Page ID #:927



                              1            62.   Defendants deny the allegations of paragraph 62, except admit that the
                              2   first season of Stranger Things was released by Netflix on July 15, 2016.
                              3            63.   Defendants deny the allegations of paragraph 63, except admit that the
                              4   first season of Stranger Things was released by Netflix on October 27, 2017.
                              5            64.   Defendants admit the allegations of paragraph 64.
                              6      ALLEGATIONS OF SUBSTANTIAL SIMILARITY BETWEEN TOTEM
                              7                       SCREENPLAYS AND STRANGER THINGS
                              8            65.   Defendants deny the allegations of paragraph 65.
                              9            66.   Defendants deny the allegations of paragraph 66.
                           10                                            Characters
                           11              67.   Defendants deny the allegations of paragraph 67.
                           12              68.   No response to paragraph 68 is required, as it purports to characterize
                           13     the works at issue in this action, which speak for themselves. To the extent a
                           14     response is required, Defendants deny Plaintiff’s characterization of the works.
                           15              69.   No response to paragraph 69 is required, as it purports to characterize
                           16     the works at issue in this action, which speak for themselves. To the extent a
                           17     response is required, Defendants deny Plaintiff’s characterization of the works.
                           18              70.   Paragraph 70 contains legal conclusions, to which no response is
                           19     required. To the extent a response is required, Defendants deny Plaintiff’s
                           20     characterization of the substantial similarity analysis.
                           21              71.   Defendants deny the allegations of paragraph 71 concerning alleged
                           22     similarities between the works at issue in this action. To the extent that paragraph
                           23     71 purports to characterize the works at issue in this action, no response to
                           24     paragraph 71 is required, and on that basis Defendants deny said allegations.
                           25              72.   Defendants deny the allegations of paragraph 72.
                           26              73.   Defendants deny the allegations of paragraph 73.
                           27              74.   Defendants deny the allegations of paragraph 74.
                           28              75.   Defendants deny the allegations of paragraph 75.

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                  8                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 10 of 29 Page ID #:928



                              1            76.   No response to paragraph 76 is required, as it purports to characterize
                              2   the works at issue in this action, which speak for themselves. To the extent a
                              3   response is required, Defendants deny Plaintiff’s characterization of the works.
                              4            77.   No response to paragraph 77 is required, as it purports to characterize
                              5   the works at issue in this action, which speak for themselves. To the extent a
                              6   response is required, Defendants deny Plaintiff’s characterization of the works..
                              7            78.   No response to paragraph 78 is required, as it purports to characterize
                              8   the works at issue in this action, which speak for themselves. To the extent a
                              9   response is required, Defendants deny Plaintiff’s characterization of the works..
                           10              79.   No response to paragraph 79 is required, as it purports to characterize
                           11     the works at issue in this action, which speak for themselves. To the extent a
                           12     response is required, Defendants deny Plaintiff’s characterization of the works.
                           13              80.   Defendants deny the allegations of paragraph 80 concerning alleged
                           14     similarities between the works at issue in this action. To the extent that paragraph
                           15     80 purports to characterize the works at issue in this action, no response to
                           16     paragraph 80 is required, and on that basis Defendants deny said allegations.
                           17              81.   Defendants deny the allegations of paragraph 81 concerning alleged
                           18     similarities between the works at issue in this action. To the extent that paragraph
                           19     81 purports to characterize the works at issue in this action, no response to
                           20     paragraph 81 is required, and on that basis Defendants deny said allegations.
                           21              82.   Defendants deny the allegations of paragraph 82 concerning alleged
                           22     similarities between the works at issue in this action. To the extent that paragraph
                           23     82 purports to characterize the works at issue in this action, no response to
                           24     paragraph 82 is required, and on that basis Defendants deny said allegations.
                           25              83.   Defendants deny the allegations of paragraph 83 concerning alleged
                           26     similarities between the works at issue in this action. To the extent that paragraph
                           27     83 purports to characterize the works at issue in this action, no response to
                           28     paragraph 83 is required, and on that basis Defendants deny said allegations.

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                  9                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 11 of 29 Page ID #:929



                              1            84.   Defendants deny the allegations of paragraph 84 concerning alleged
                              2   similarities between the works at issue in this action. To the extent that paragraph
                              3   84 purports to characterize the works at issue in this action, no response to
                              4   paragraph 84 is required, and on that basis Defendants deny said allegations.
                              5            85.   Defendants deny the allegations of paragraph 85 concerning alleged
                              6   similarities between the works at issue in this action. To the extent that paragraph
                              7   85 purports to characterize the works at issue in this action, no response to
                              8   paragraph 85 is required, and on that basis Defendants deny said allegations.
                              9            86.   Defendants deny the allegations of paragraph 86 concerning alleged
                           10     similarities between the works at issue in this action. To the extent that paragraph
                           11     86 purports to characterize the works at issue in this action, no response to
                           12     paragraph 86 is required, and on that basis Defendants deny said allegations.
                           13              87.   No response to paragraph 87 is required, as it purports to characterize
                           14     the works at issue in this action, which speak for themselves. To the extent a
                           15     response is required, Defendants deny Plaintiff’s characterization of the works.
                           16              88.   No response to paragraph 88 is required, as it purports to characterize
                           17     the works at issue in this action, which speak for themselves. To the extent a
                           18     response is required, Defendants deny Plaintiff’s characterization of the works.
                           19              89.   Defendants deny the allegations of paragraph 89 concerning alleged
                           20     similarities between the works at issue in this action. To the extent that paragraph
                           21     89 purports to characterize the works at issue in this action, no response to
                           22     paragraph 89 is required, and on that basis Defendants deny said allegations.
                           23              90.   Defendants deny the allegations of paragraph 90 concerning alleged
                           24     similarities between the works at issue in this action. To the extent that paragraph
                           25     90 purports to characterize the works at issue in this action, no response to
                           26     paragraph 90 is required, and on that basis Defendants deny said allegations.
                           27              91.   Defendants deny the allegations of paragraph 91 concerning alleged
                           28     similarities between the works at issue in this action. To the extent that paragraph

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                 10                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 12 of 29 Page ID #:930



                              1   91 purports to characterize the works at issue in this action, no response to
                              2   paragraph 91 is required, and on that basis Defendants deny said allegations.
                              3            92.   Defendants deny the allegations of paragraph 92.
                              4                                          Sequence
                              5            93.   Defendants deny the allegations of paragraph 93 concerning alleged
                              6   similarities between the works at issue in this action. To the extent that paragraph
                              7   93 purports to characterize the works at issue in this action, no response to
                              8   paragraph 93 is required, and on that basis Defendants deny said allegations.
                              9                                           Themes
                           10              94.   Paragraph 94 contains legal conclusions, to which no response is
                           11     required. To the extent a response is required, Defendants deny Plaintiff’s
                           12     characterization of the substantial similarity analysis.
                           13              95.   Defendants deny the allegations of paragraph 95 concerning alleged
                           14     similarities between the works at issue in this action. To the extent that paragraph
                           15     95 purports to characterize the works at issue in this action, no response to
                           16     paragraph 95 is required, and on that basis Defendants deny said allegations.
                           17              96.   Defendants deny the allegations of paragraph 96.
                           18              97.   Defendants deny the allegations of paragraph 97.
                           19              98.   Defendants deny the allegations of paragraph 98.
                           20              99.   Defendants deny the allegations of paragraph 99.
                           21              100. Defendants deny the allegations of paragraph 100 concerning alleged
                           22     similarities between the works at issue in this action. To the extent that paragraph
                           23     100 purports to characterize the works at issue in this action, no response to
                           24     paragraph 100 is required, and on that basis Defendants deny said allegations.
                           25              101. Defendants deny the allegations of paragraph 101.
                           26              102. Defendants deny the allegations of paragraph 102 concerning alleged
                           27     similarities between the works at issue in this action. To the extent that paragraph
                           28

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                11                        AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 13 of 29 Page ID #:931



                              1   102 purports to characterize the works at issue in this action, no response to
                              2   paragraph 102 is required, and on that basis Defendants deny said allegations.
                              3            103. Defendants deny the allegations of paragraph 103.
                              4            104. Defendants deny the allegations of paragraph 104 concerning alleged
                              5   similarities between the works at issue in this action. To the extent that paragraph
                              6   104 purports to characterize the works at issue in this action, no response to
                              7   paragraph 104 is required, and on that basis Defendants deny said allegations.
                              8            105. Defendants deny the allegations of paragraph 105 concerning alleged
                              9   similarities between the works at issue in this action. To the extent that paragraph
                           10     105 purports to characterize the works at issue in this action, no response to
                           11     paragraph 105 is required, and on that basis Defendants deny said allegations.
                           12              106. Defendants deny the allegations of paragraph 106 concerning alleged
                           13     similarities between the works at issue in this action. To the extent that paragraph
                           14     106 purports to characterize the works at issue in this action, no response to
                           15     paragraph 106 is required, and on that basis Defendants deny said allegations.
                           16              107. Defendants deny the allegations of paragraph 107 concerning alleged
                           17     similarities between the works at issue in this action. To the extent that paragraph
                           18     107 purports to characterize the works at issue in this action, no response to
                           19     paragraph 107 is required, and on that basis Defendants deny said allegations.
                           20              108. Defendants deny the allegations of paragraph 108 concerning alleged
                           21     similarities between the works at issue in this action. To the extent that paragraph
                           22     108 purports to characterize the works at issue in this action, no response to
                           23     paragraph 108 is required, and on that basis Defendants deny said allegations.
                           24              109. Defendants deny the allegations of paragraph 109 concerning alleged
                           25     similarities between the works at issue in this action. To the extent that paragraph
                           26     109 purports to characterize the works at issue in this action, no response to
                           27     paragraph 109 is required, and on that basis Defendants deny said allegations.
                           28

                                                                                            DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                12                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 14 of 29 Page ID #:932



                              1            110. Defendants deny the allegations of paragraph 110 concerning alleged
                              2   similarities between the works at issue in this action. To the extent that paragraph
                              3   110 purports to characterize the works at issue in this action, no response to
                              4   paragraph 110 is required, and on that basis Defendants deny said allegations.
                              5                                          Setting
                              6            111. Defendants deny the allegations of paragraph 111 concerning alleged
                              7   similarities between the works at issue in this action. To the extent that paragraph
                              8   111 purports to characterize the works at issue in this action, no response to
                              9   paragraph 111 is required, and on that basis Defendants deny said allegations.
                           10              112. Defendants deny the allegations of paragraph 112 concerning alleged
                           11     similarities between the works at issue in this action. To the extent that paragraph
                           12     112 purports to characterize the works at issue in this action, no response to
                           13     paragraph 112 is required, and on that basis Defendants deny said allegations.
                           14              113. Defendants deny the allegations of paragraph 113 concerning alleged
                           15     similarities between the works at issue in this action. To the extent that paragraph
                           16     113 purports to characterize the works at issue in this action, no response to
                           17     paragraph 113 is required, and on that basis Defendants deny said allegations.
                           18              114. Defendants deny the allegations of paragraph 114 concerning alleged
                           19     similarities between the works at issue in this action. To the extent that paragraph
                           20     114 purports to characterize the works at issue in this action, no response to
                           21     paragraph 114 is required, and on that basis Defendants deny said allegations.
                           22              115. Defendants deny the allegations of paragraph 115 concerning alleged
                           23     similarities between the works at issue in this action. To the extent that paragraph
                           24     115 purports to characterize the works at issue in this action, no response to
                           25     paragraph 115 is required, and on that basis Defendants deny said allegations.
                           26              116. Defendants deny the allegations of paragraph 116 concerning alleged
                           27     similarities between the works at issue in this action. To the extent that paragraph
                           28

                                                                                            DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                13                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 15 of 29 Page ID #:933



                              1   116 purports to characterize the works at issue in this action, no response to
                              2   paragraph 116 is required, and on that basis Defendants deny said allegations.
                              3            117. Defendants deny the allegations of paragraph 117 concerning alleged
                              4   similarities between the works at issue in this action. To the extent that paragraph
                              5   117 purports to characterize the works at issue in this action, no response to
                              6   paragraph 117 is required, and on that basis Defendants deny said allegations.
                              7            118. Defendants deny the allegations of paragraph 118 concerning alleged
                              8   similarities between the works at issue in this action. To the extent that paragraph
                              9   118 purports to characterize the works at issue in this action, no response to
                           10     paragraph 118 is required, and on that basis Defendants deny said allegations.
                           11                                    Mood, Tone, and Pace
                           12              119. Defendants deny the allegations of paragraph 119 concerning alleged
                           13     similarities between the works at issue in this action. To the extent that paragraph
                           14     119 purports to characterize the works at issue in this action, no response to
                           15     paragraph 119 is required, and on that basis Defendants deny said allegations.
                           16              120. Defendants deny the allegations of paragraph 120 concerning alleged
                           17     similarities between the works at issue in this action. To the extent that paragraph
                           18     120 purports to characterize the works at issue in this action, no response to
                           19     paragraph 120 is required, and on that basis Defendants deny said allegations.
                           20              121. Defendants deny the allegations of paragraph 121 concerning alleged
                           21     similarities between the works at issue in this action. To the extent that paragraph
                           22     121 purports to characterize the works at issue in this action, no response to
                           23     paragraph 121 is required, and on that basis Defendants deny said allegations.
                           24              122. Defendants deny the allegations of paragraph 122 concerning alleged
                           25     similarities between the works at issue in this action. To the extent that paragraph
                           26     122 purports to characterize the works at issue in this action, no response to
                           27     paragraph 122 is required, and on that basis Defendants deny said allegations.
                           28

                                                                                            DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                14                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 16 of 29 Page ID #:934



                              1            123. Defendants deny the allegations of paragraph 123 concerning alleged
                              2   similarities between the works at issue in this action. To the extent that paragraph
                              3   123 purports to characterize the works at issue in this action, no response to
                              4   paragraph 123 is required, and on that basis Defendants deny said allegations.
                              5            124. Defendants deny the allegations of paragraph 124 concerning alleged
                              6   similarities between the works at issue in this action. To the extent that paragraph
                              7   124 purports to characterize the works at issue in this action, no response to
                              8   paragraph 124 is required, and on that basis Defendants deny said allegations.
                              9            125. Defendants deny the allegations of paragraph 125 concerning alleged
                           10     similarities between the works at issue in this action. To the extent that paragraph
                           11     125 purports to characterize the works at issue in this action, no response to
                           12     paragraph 125 is required, and on that basis Defendants deny said allegations.
                           13              126. No response to paragraph 126 is required, as it purports to characterize
                           14     the works at issue in this action, which speak for themselves. To the extent a
                           15     response is required, Defendants deny Plaintiff’s characterization of the works.
                           16              127. No response to paragraph 127 is required, as it purports to characterize
                           17     the works at issue in this action, which speak for themselves. To the extent a
                           18     response is required, Defendants deny Plaintiff’s characterization of the works.
                           19              128. Defendants deny the allegations of paragraph 128 concerning alleged
                           20     similarities between the works at issue in this action. To the extent that paragraph
                           21     128 purports to characterize the works at issue in this action, no response to
                           22     paragraph 128 is required, and on that basis Defendants deny said allegations.
                           23              129. No response to paragraph 129 is required, as it purports to characterize
                           24     the works at issue in this action, which speak for themselves. To the extent a
                           25     response is required, Defendants deny Plaintiff’s characterization of the works.
                           26              130. Defendants deny the allegations of paragraph 130 concerning alleged
                           27     similarities between the works at issue in this action. To the extent that paragraph
                           28

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                 15                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 17 of 29 Page ID #:935



                              1   130 purports to characterize the works at issue in this action, no response to
                              2   paragraph 130 is required, and on that basis Defendants deny said allegations.
                              3            131. Defendants deny the allegations of paragraph 131 concerning alleged
                              4   similarities between the works at issue in this action. To the extent that paragraph
                              5   131 purports to characterize the works at issue in this action, no response to
                              6   paragraph 131 is required, and on that basis Defendants deny said allegations.
                              7            132. No response to paragraph 132 is required, as it purports to characterize
                              8   the works at issue in this action, which speak for themselves. To the extent a
                              9   response is required, Defendants deny Plaintiff’s characterization of the works.
                           10              133. Defendants deny the allegations of paragraph 133 concerning alleged
                           11     similarities between the works at issue in this action. To the extent that paragraph
                           12     133 purports to characterize the works at issue in this action, no response to
                           13     paragraph 133 is required, and on that basis Defendants deny said allegations.
                           14              134. Defendants deny the allegations of paragraph 134.
                           15                                             Dialogue
                           16              135. Defendants deny the allegations of paragraph 135.
                           17              136. Defendants deny the allegations of paragraph 136.
                           18              137. Defendants deny the allegations of paragraph 137 concerning alleged
                           19     similarities between the works at issue in this action. To the extent that paragraph
                           20     137 purports to characterize the works at issue in this action, no response to
                           21     paragraph 137 is required, and on that basis Defendants deny said allegations.
                           22              138. Defendants deny the allegations of paragraph 138.
                           23              139. Defendants deny the allegations of paragraph 139 concerning alleged
                           24     similarities between the works at issue in this action. To the extent that paragraph
                           25     139 purports to characterize the works at issue in this action, no response to
                           26     paragraph 139 is required, and on that basis Defendants deny said allegations.
                           27              140. Defendants deny the allegations of paragraph 140 concerning alleged
                           28     similarities between the works at issue in this action. To the extent that paragraph

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                 16                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 18 of 29 Page ID #:936



                              1   140 purports to characterize the works at issue in this action, no response to
                              2   paragraph 140 is required, and on that basis Defendants deny said allegations.
                              3            141. Defendants deny the allegations of paragraph 141 concerning alleged
                              4   similarities between the works at issue in this action. To the extent that paragraph
                              5   141 purports to characterize the works at issue in this action, no response to
                              6   paragraph 141 is required, and on that basis Defendants deny said allegations.
                              7            142. No response to paragraph 142 is required, as it purports to characterize
                              8   the works at issue in this action, which speak for themselves. To the extent a
                              9   response is required, Defendants deny Plaintiff’s characterization of the works.
                           10              143. No response to paragraph 143 is required, as it purports to characterize
                           11     the works at issue in this action, which speak for themselves. To the extent a
                           12     response is required, Defendants deny Plaintiff’s characterization of the works.
                           13                                     Additional Similarities
                           14              144. Defendants deny the allegations of paragraph 144.
                           15                                           Plot Devices
                           16              145. Defendants deny the allegations of paragraph 145 concerning alleged
                           17     similarities between the works at issue in this action. To the extent that paragraph
                           18     145 purports to characterize the works at issue in this action, no response to
                           19     paragraph 145 is required, and on that basis Defendants deny said allegations.
                           20              146. Defendants deny the allegations of paragraph 146 concerning alleged
                           21     similarities between the works at issue in this action. To the extent that paragraph
                           22     146 purports to characterize the works at issue in this action, no response to
                           23     paragraph 146 is required, and on that basis Defendants deny said allegations.
                           24              147. Defendants deny the allegations of paragraph 147 concerning alleged
                           25     similarities between the works at issue in this action. To the extent that paragraph
                           26     147 purports to characterize the works at issue in this action, no response to
                           27     paragraph 147 is required, and on that basis Defendants deny said allegations.
                           28

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                 17                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 19 of 29 Page ID #:937



                              1            148. Defendants deny the allegations of paragraph 148 concerning alleged
                              2   similarities between the works at issue in this action. To the extent that paragraph
                              3   148 purports to characterize the works at issue in this action, no response to
                              4   paragraph 148 is required, and on that basis Defendants deny said allegations.
                              5            149. Defendants deny the allegations of paragraph 149 concerning alleged
                              6   similarities between the works at issue in this action. To the extent that paragraph
                              7   149 purports to characterize the works at issue in this action, no response to
                              8   paragraph 149 is required, and on that basis Defendants deny said allegations.
                              9                                          Settings
                           10              150. Defendants deny the allegations of paragraph 150 concerning alleged
                           11     similarities between the works at issue in this action. To the extent that paragraph
                           12     150 purports to characterize the works at issue in this action, no response to
                           13     paragraph 150 is required, and on that basis Defendants deny said allegations.
                           14              151. Defendants deny the allegations of paragraph 151 concerning alleged
                           15     similarities between the works at issue in this action. To the extent that paragraph
                           16     151 purports to characterize the works at issue in this action, no response to
                           17     paragraph 151 is required, and on that basis Defendants deny said allegations.
                           18              152. Defendants deny the allegations of paragraph 152 concerning alleged
                           19     similarities between the works at issue in this action. To the extent that paragraph
                           20     152 purports to characterize the works at issue in this action, no response to
                           21     paragraph 152 is required, and on that basis Defendants deny said allegations.
                           22              153. Defendants deny the allegations of paragraph 153 concerning alleged
                           23     similarities between the works at issue in this action. To the extent that paragraph
                           24     153 purports to characterize the works at issue in this action, no response to
                           25     paragraph 153 is required, and on that basis Defendants deny said allegations.
                           26                                       Integral Elements
                           27              154. Defendants deny the allegations of paragraph 154 concerning alleged
                           28     similarities between the works at issue in this action. To the extent that paragraph

                                                                                            DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                18                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 20 of 29 Page ID #:938



                              1   154 purports to characterize the works at issue in this action, no response to
                              2   paragraph 154 is required, and on that basis Defendants deny said allegations.
                              3            155. Defendants deny the allegations of paragraph 155 concerning alleged
                              4   similarities between the works at issue in this action. To the extent that paragraph
                              5   155 purports to characterize the works at issue in this action, no response to
                              6   paragraph 155 is required, and on that basis Defendants deny said allegations.
                              7            156. Defendants deny the allegations of paragraph 156 concerning alleged
                              8   similarities between the works at issue in this action. To the extent that paragraph
                              9   156 purports to characterize the works at issue in this action, no response to
                           10     paragraph 156 is required, and on that basis Defendants deny said allegations.
                           11              157. Defendants deny the allegations of paragraph 157 concerning alleged
                           12     similarities between the works at issue in this action. To the extent that paragraph
                           13     157 purports to characterize the works at issue in this action, no response to
                           14     paragraph 157 is required, and on that basis Defendants deny said allegations.
                           15              158. Defendants deny the allegations of paragraph 158 concerning alleged
                           16     similarities between the works at issue in this action. To the extent that paragraph
                           17     158 purports to characterize the works at issue in this action, no response to
                           18     paragraph 158 is required, and on that basis Defendants deny said allegations.
                           19              159. Defendants deny the allegations of paragraph 159 concerning alleged
                           20     similarities between the works at issue in this action. To the extent that paragraph
                           21     159 purports to characterize the works at issue in this action, no response to
                           22     paragraph 159 is required, and on that basis Defendants deny said allegations.
                           23              160. Defendants deny the allegations of paragraph 160 concerning alleged
                           24     similarities between the works at issue in this action. To the extent that paragraph
                           25     160 purports to characterize the works at issue in this action, no response to
                           26     paragraph 160 is required, and on that basis Defendants deny said allegations.
                           27              161. Defendants deny the allegations of paragraph 161 concerning alleged
                           28     similarities between the works at issue in this action. To the extent that paragraph

                                                                                            DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                19                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 21 of 29 Page ID #:939



                              1   161 purports to characterize the works at issue in this action, no response to
                              2   paragraph 161 is required, and on that basis Defendants deny said allegations.
                              3            162. Defendants deny the allegations of paragraph 162 concerning alleged
                              4   similarities between the works at issue in this action. To the extent that paragraph
                              5   162 purports to characterize the works at issue in this action, no response to
                              6   paragraph 162 is required, and on that basis Defendants deny said allegations.
                              7            163. Defendants deny the allegations of paragraph 163 concerning alleged
                              8   similarities between the works at issue in this action. To the extent that paragraph
                              9   163 purports to characterize the works at issue in this action, no response to
                           10     paragraph 163 is required, and on that basis Defendants deny said allegations.
                           11        ALLEGATIONS OF SUBSTANTIAL SIMILARITY BETWEEN TOTEM
                           12                         CONCEPT ART AND STRANGER THINGS
                           13              164. Defendants deny the allegations of paragraph 164.
                           14              165. No response is required to paragraph 165, as it purports to characterize
                           15     Exhibit 9 to Plaintiff’s First Amended Complaint, except Defendants admit that
                           16     Plaintiff has put together lists of claimed “similarities,” and Defendants lack
                           17     knowledge or information sufficient to form a belief as to whether any of the Totem
                           18     images are copyrighted, and on that basis deny said allegation.
                           19              166. No response is required to paragraph 166, as it purports to characterize
                           20     Exhibit 9 to Plaintiff’s First Amended Complaint, except Defendants admit that
                           21     Plaintiff has put together lists of claimed “similarities,” and Defendants lack
                           22     knowledge or information sufficient to form a belief as to whether any of the Totem
                           23     materials are “2010 development materials,” and on that basis deny said allegation.
                           24                                         CONCLUSION
                           25              167. Defendants deny the allegations of paragraph 167.
                           26              168. Defendants deny the allegations of paragraph 168.
                           27              169. Defendants deny the allegations of paragraph 169.
                           28

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                 20                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 22 of 29 Page ID #:940



                              1                                FIRST CAUSE OF ACTION
                              2                       (Copyright Infringement – Totem Screenplays)
                              3                                   (Against all Defendants)
                              4            170. Defendants repeat and reassert their responses to the allegations
                              5   contained in Paragraphs 1 through 169 as though fully set forth herein.
                              6            171. Paragraph 171 contains legal conclusions, to which no response is
                              7   required, but to the extent a response is required, Defendants deny the allegations in
                              8   paragraph 171.
                              9            172. Paragraph 172 contains legal conclusions, to which no response is
                           10     required, but to the extent a response is required, Defendants lack knowledge or
                           11     information sufficient to form a belief as to the truth of the allegations in paragraph
                           12     172, and on that basis deny said allegations.
                           13              173. Paragraph 173 contains legal conclusions, to which no response is
                           14     required, but to the extent a response is required, Defendants lack knowledge or
                           15     information sufficient to form a belief as to the truth of the allegations in paragraph
                           16     173, and on that basis deny said allegations.
                           17              174. Defendants admit the allegations of paragraph 174.
                           18              175. Defendants deny the allegations of paragraph 175.
                           19              176. Defendants deny the allegations of paragraph 176.
                           20              177. Defendants deny the allegations of paragraph 177.
                           21              178. Defendants deny the allegations of paragraph 178.
                           22              179. Defendants deny the allegations of paragraph 179.
                           23              180. Defendants deny the allegations of paragraph 180.
                           24              181. Defendants deny the allegations of paragraph 181.
                           25
                           26
                           27
                           28

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                 21                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 23 of 29 Page ID #:941



                              1                              SECOND CAUSE OF ACTION
                              2                      (Copyright Infringement – Totem Concept Art)
                              3                                   (Against all Defendants)
                              4            182. Defendants repeat and reassert their responses to the allegations
                              5   contained in Paragraphs 1 through 181 as though fully set forth herein.
                              6            183. Paragraph 183 contains legal conclusions, to which no response is
                              7   required, but to the extent a response is required, Defendants deny the allegations in
                              8   paragraph 183.
                              9            184. Paragraph 184 contains legal conclusions, to which no response is
                           10     required, but to the extent a response is required, Defendants lack knowledge or
                           11     information sufficient to form a belief as to the truth of the allegations in paragraph
                           12     184, and on that basis deny said allegations.
                           13              185. Paragraph 185 contains legal conclusions, to which no response is
                           14     required, but to the extent a response is required, Defendants lack knowledge or
                           15     information sufficient to form a belief as to the truth of the allegations in paragraph
                           16     185, and on that basis deny said allegations.
                           17              186. Defendants admit the allegations of paragraph 186.
                           18              187. Defendants deny the allegations of paragraph 187.
                           19              188. Defendants deny the allegations of paragraph 188.
                           20              189. Defendants deny the allegations of paragraph 189.
                           21              190. Defendants deny the allegations of paragraph 190.
                           22              191. Defendants deny the allegations of paragraph 191.
                           23              192. Defendants deny the allegations of paragraph 192.
                           24              193. Defendants deny the allegations of paragraph 193.
                           25
                           26
                           27
                           28

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                 22                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 24 of 29 Page ID #:942



                              1                               THIRD CAUSE OF ACTION
                              2                          (Contributory Copyright Infringement)
                              3                                  (Against All Defendants)
                              4            194. Defendants repeat and reassert their responses to the allegations
                              5   contained in Paragraphs 1 through 193 as though fully set forth herein.
                              6            195. Defendants deny the allegations of paragraph 195.
                              7            196. Defendants deny the allegations of paragraph 196.
                              8            197. Defendants deny the allegations of paragraph 197.
                              9            198. Defendants deny the allegations of paragraph 198.
                           10              199. Defendants deny the allegations of paragraph 199.
                           11              200. Defendants deny the allegations of paragraph 200.
                           12              201. Defendants deny the allegations of paragraph 201.
                           13              202. Defendants deny the allegations of paragraph 202.
                           14              203. Defendants deny the allegations of paragraph 203.
                           15                                FOURTH CAUSE OF ACTION
                           16                              (Vicarious Copyright Infringement)
                           17                                    (Against All Defendants)
                           18              204. Defendants repeat and reassert their responses to the allegations
                           19     contained in Paragraphs 1 through 203 as though fully set forth herein.
                           20              205. Defendants deny the allegations of paragraph 205.
                           21              206. Defendants deny the allegations of paragraph 206.
                           22              207. Defendants deny the allegations of paragraph 207.
                           23              208. Defendants deny the allegations of paragraph 208.
                           24              209. Defendants deny the allegations of paragraph 209.
                           25              210. Defendants deny the allegations of paragraph 210.
                           26              211. Defendants deny the allegations of paragraph 211.
                           27              212. Defendants deny the allegations of paragraph 212.
                           28              213. Defendants deny the allegations of paragraph 213.

                                                                                             DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                 23                       AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 25 of 29 Page ID #:943



                              1            214. Defendants deny the allegations of paragraph 214.
                              2                                 FIFTH CAUSE OF ACTION
                              3                                       (Declaratory Relief)
                              4                                   (Against All Defendants)
                              5            215. Defendants repeat and reassert their responses to the allegations
                              6   contained in Paragraphs 1 through 214 as though fully set forth herein.
                              7            216. Paragraph 216 contains legal conclusions, to which no response is
                              8   required, but to the extent a response is required, Defendants do not dispute that
                              9   Plaintiff has filed this litigation.
                           10              217. Defendants deny the allegations of paragraph 217, except lack
                           11     knowledge or information sufficient to form a belief as to the truth of the allegations
                           12     that Plaintiff is the sole owner of the allegedly infringed works in this action, and on
                           13     that basis deny said allegations.
                           14              218. Defendants deny the allegations of paragraph 218.
                           15              219. Defendants admit that they dispute Plaintiff’s allegations in paragraph
                           16     219.
                           17              220. Defendants deny that Plaintiff is entitled to any relief.
                           18                                   AFFIRMATIVE DEFENSES
                           19              As separate and affirmative defenses to the First Amended Complaint, the
                           20     Defendants allege as follows:
                           21                               FIRST AFFIRMATIVE DEFENSE
                           22                                     (Failure to State a Claim)
                           23              1.    Plaintiff’s First Amended Complaint fails to state a claim upon which
                           24     relief may be granted.
                           25                             SECOND AFFIRMATIVE DEFENSE
                           26                                      (Statute of Limitations)
                           27              2.    Plaintiff’s claims are barred by the applicable statute of limitations.
                           28

                                                                                               DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                  24                        AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 26 of 29 Page ID #:944



                              1                            THIRD AFFIRMATIVE DEFENSE
                              2                                            (Laches)
                              3            3.    Plaintiff’s claims are barred, in whole or in part, by the equitable
                              4   doctrine of laches.
                              5                           FOURTH AFFIRMATIVE DEFENSE
                              6                                  (Unprotectable Elements)
                              7            4.    Plaintiff’s claims are barred, in whole or in part, because allegedly
                              8   infringed elements are not original to Plaintiff and/or do not constitute protectable
                              9   copyrightable expression.
                           10                               FIFTH AFFIRMATIVE DEFENSE
                           11                                              (Access)
                           12              5.    Plaintiff’s claims are barred because Matt and Ross Duffer did not have
                           13     access to the allegedly infringed works.
                           14                              SIXTH AFFIRMATIVE DEFENSE
                           15                                      (Independent Creation)
                           16              6.    Plaintiff’s claims are barred because Stranger Things was created
                           17     independently of the allegedly infringed works.
                           18                            SEVENTH AFFIRMATIVE DEFENSE
                           19                                             (Fair Use)
                           20              7.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of fair
                           21     use.
                           22                             EIGHTH AFFIRMATIVE DEFENSE
                           23                                     (No Volitional Conduct)
                           24              8.    Plaintiff’s claim for direct infringement against Netflix and 21 Laps is
                           25     barred, in whole or in part, because the alleged primary infringements were not
                           26     caused by any volitional conduct by Netflix or 21 Laps, and are not otherwise
                           27     attributable to Netflix or 21 Laps.
                           28

                                                                                               DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                  25                        AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 27 of 29 Page ID #:945



                              1                            NINTH AFFIRMATIVE DEFENSE
                              2                                   (Vicarious Infringement)
                              3            9.    Plaintiff’s claim for vicarious infringement against Netflix and 21 Laps
                              4   is barred, in whole or in part, because Netflix and 21 Laps did not and do not have
                              5   the right or ability to control the alleged primary infringement and/or did not obtain
                              6   a financial benefit directly attributable to the alleged primary infringement.
                              7                            TENTH AFFIRMATIVE DEFENSE
                              8                                (Contributory Infringement)
                              9            10.   Plaintiff’s claim for contributory infringement against Netflix and 21
                           10     Laps is barred, in whole or in part, because against Netflix and 21 Laps did not have
                           11     knowledge of the alleged primary infringement and/or did not induce, cause or
                           12     materially contribute to the alleged primary infringement.
                           13                           ELEVENTH AFFIRMATIVE DEFENSE
                           14                             (Waiver, Estoppel, and/or Ratification)
                           15              11.   Plaintiff’s claims are barred, in whole or in part, by the doctrines of
                           16     waiver, estoppel and/or ratification
                           17                            TWELFTH AFFIRMATIVE DEFENSE
                           18                                       (Monetary Damages)
                           19              12.   Plaintiff’s claim for injunctive relief is barred because monetary
                           20     damages would provide an adequate remedy for Plaintiff’s alleged injury.
                           21     WHEREFORE, Defendants pray as follows:
                           22              a)    That Plaintiff recovers nothing by reason of its First Amended
                           23     Complaint, and that the First Amended Complaint be dismissed with prejudice;
                           24              b)    That the Defendants be awarded all costs, fees, expenses and
                           25     disbursements that they have incurred and will incur in the defense of this suit; and
                           26              c)    For such other and further relief as the Court deems just and proper.
                           27
                           28

                                                                                               DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                  26                        AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 28 of 29 Page ID #:946



                              1   Dated: February 4, 2021   LOEB & LOEB LLP
                                                            DAVID GROSSMAN
                              2                             NATHALIE R. RUSSELL (Pro Hac Vice)
                              3
                                                            By:       /s/ David Grossman
                              4                                   David Grossman
                                                                  Attorneys for Defendants
                              5                                   AARON SIMS, MATT DUFFER, ROSS
                                                                  DUFFER, NETFLIX, INC., NETFLIX
                              6                                   STREAMING SERVICES, INC., and
                                                                  21 LAPS INC.
                              7
                              8
                              9
                           10
                           11
                           12
                           13
                           14
                           15
                           16
                           17
                           18
                           19
                           20
                           21
                           22
                           23
                           24
                           25
                           26
                           27
                           28

                                                                            DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                  27                     AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
                  Case 2:20-cv-06293-CBM-PLA Document 41 Filed 02/04/21 Page 29 of 29 Page ID #:947



                              1                                  DEMAND FOR JURY
                              2            Defendants Aaron Sims, Matt Duffer and Ross Duffer, Netflix, Inc. and
                              3   Netflix Streaming Services, Inc., and 21 Laps, Inc. (collectively, “Defendants”)
                              4   hereby demand a jury trial of this action.
                              5
                              6   Dated: February 4, 2021                LOEB & LOEB LLP
                                                                         DAVID GROSSMAN
                              7                                          NATHALIE R. RUSSELL (Pro Hac Vice)
                              8
                                                                         By:       /s/ David Grossman
                              9                                                David Grossman
                                                                               Attorneys for Defendants
                           10                                                  AARON SIMS, MATT DUFFER, ROSS
                                                                               DUFFER, NETFLIX, INC., NETFLIX
                           11                                                  STREAMING SERVICES, INC., and
                                                                               21 LAPS INC.
                           12
                           13
                           14
                           15
                           16
                           17
                           18
                           19
                           20
                           21
                           22
                           23
                           24
                           25
                           26
                           27
                           28

                                                                                           DEFENDANTS’ ANSWER TO FIRST
      Loeb & Loeb
A Limited Liability Partnership
                                  20298344                                28                      AMENDED COMPLAINT
    Including Professional        231804-10002
         Corporations
